           Case 3:17-cv-05769-RJB Document 159-1 Filed 03/18/19 Page 1 of 2



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2                                                                         The Honorable Robert J. Bryan

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7                               IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
8                                           AT SEATTLE

9
      UGOCHUKWU GOODLUCK NWAUZOR,                            Case No. 3:17-cv-05769-RJB
10    FERNANDO AGUIRRE-URBINA, individually
      and on behalf of all those similarly situated,         ORDER ON DEFENDANT/COUNTER
11                                                           CLAIMANT’S UNOPPOSED MOTION
                     Plaintiffs/Counter Defendants,          TO WAIVE GEOGRAPHIC
12                                                           REQUIREMENT IN LCR 83.1
             v.
13
      THE GEO GROUP, INC.,
14
                    Defendant/Counter Claimant
15

16          THIS MATTER has come before the Court on Defendant/Counter Claimant’s Unopposed

17   Motion to Waive Geographic Requirement in LCR 83.1. The Court has reviewed the motion and,

18   deeming that good cause exists, GRANTS the motion. The Court hereby waives the geographic

19   requirement for local counsel in LCR 83.1(d)(2), and orders that J. Matthew Donohue, Shannon

20   Armstrong, and Kristin Asai may serve as local counsel in this matter and file pro hac vice

21   applications under LCR 83.1(d).

22          IT IS SO ORDERED.

23          Dated this __ day of March, 2019.
24                                                       ____________________________________
25                                                       HONORABLE ROBERT J. BRYAN
                                                         UNITED STATES DISTRICT JUDGE
26

      PAGE 1 – ORDER ON DEFENDANT/COUNTER                                  HOLLAND & KNIGHT LLP
                                                                              2300 US Bancorp Tower
      CLAIMANT’S UNOPPOSED MOTION TO WAIVE                                      111 SW Fifth Avenue
      GEOGRAPHIC REQUIREMENT IN LCR 83.1 (3:17-CV-                               Portland, OR 97204
                                                                              Telephone: 503.243.2300
      05769-RJB)
         Case 3:17-cv-05769-RJB Document 159-1 Filed 03/18/19 Page 2 of 2



1     Presented by:
2
       s/ Shannon Armstrong
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     PAGE 2 – ORDER ON DEFENDANT/COUNTER                   HOLLAND & KNIGHT LLP
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